                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF ILLINOIS

DE’ERICA INGRAM, Individually and as       )
Independent Administrator of the Estate of )
DEONSHA RAMONA JONES, deceased,            )
                                           )
             Plaintiff,                    )
                                           )
vs.                                        )          Civil No. 21-cv-1191-SPM
                                           )
UNITED STATES OF AMERICA, GRANITE )
CITY ILLINOIS HOSPITAL COMPANY,            )
LLC d/b/a Gateway Regional Medical Center, )
DENNIS HURFORD, M.D., GRANITE CITY )
CLINIC CORP. d/b/a Gateway Medical Group, )
                                           )
             Defendants.                   )
                                           )

                                     MOTION TO COMPEL

       The defendant, United States of America, by its attorneys, Rachelle Aud Crowe, United

States Attorney for the Southern District of Illinois, and Laura J. Jones, Assistant United States

Attorney, moves this Court pursuant to Rule 37 of the Federal Rules of Civil Procedure to compel

discovery from plaintiff served on May 16, 2022, and states as follows:

       1)      Plaintiff filed this complaint against the United States on September 29, 2021. Doc.

1. The United States filed an answer on December 21, 2021. Doc. 24 The case was assigned Track

C with a presumptive trial date of August 2023. Doc. 32. A scheduling order issued on March 9,

2022. Doc. 32. All parties served initial disclosures and written discovery.

       2)      The United States served interrogatories and a request for production on plaintiff

on May 16, 2022. Plaintiff eventually served answers to interrogatories on August 18, 2022.

Plaintiff has failed to serve a response to the request for production, a copy of which is attached as

Exhibit A.

       3)      The United States is concerned about approaching deadlines, including expert

disclosure deadlines and the discovery cut-off date. Despite several conversations and emails (the
latest being September 9, 2022; September 2, 2022; August 28, 2022; August 19, 2022; August

18, 2022 (conference); August 10, 2022) and other dates about plaintiff’s failure to respond to

discovery, plaintiff has not been able to respond to the request for production tendered by the

United States despite saying she will do so on several occasions. In the last communication,

plaintiff indicated the United States would receive the discovery this week, which at the time of

this filing (Friday, September 16th), did not happen.

       4)      Counsel for the United States served its responses to plaintiff’s discovery on May

16, 2022, after informing plaintiff’s counsel that the responses would be late. Plaintiff’s counsel

had served its discovery on the United States on or about March 22, 2022, prior to counsel for the

United States receiving plaintiff’s Initial Disclosures on March 30, 2022. (Plaintiff’s letter

including the Initial Disclosures was dated March 16, 2022, but counsel did not receive the

plaintiff’s Initial Disclosures until March 30, 2022.) See Doc. 27, p. 3 (“A party may not seek

discovery from another source until: (a) the party seeking discovery has made its initial disclosures

as required by Federal Rule of Civil Procedure 26(a), and (b) . . . A party may not seek discovery

from another party before such disclosures have been made by, or are due from, the other party.”

In other words, plaintiff’s counsel attempted to serve discovery on the parties prior to serving its

Initial Disclosures.

       5)      Counsel for the United States believes plaintiff’s counsel is attempting to cooperate

in good faith, but she is concerned about the upcoming due dates, including expert disclosures, the

discovery cut-off date, and the prejudice the United States will suffer as a result of not being able

to proceed with further discovery because she does not have plaintiff’s responses. The United

States is not seeking monetary and other sanctions. In fact, if plaintiff will just provide the

responses, the United States will withdraw this motion.

       6)      Pursuant to Rule 37(a)(1) and the Court’s Case Management Procedures, counsel


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for the United States certifies that she has in good faith conferred with plaintiff’s counsel in an

effort to resolve the dispute with plaintiff without court action.

       For these reasons, the United States requests that the Court compel plaintiff to respond to

the request for production served by the United States on May 16, 2022.

                                                       UNITED STATES OF AMERICA

                                                       RACHELLE AUD CROWE
                                                       United States Attorney

                                                       s/ Laura J. Jones

                                                       LAURA J. JONES
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                                 CERTIFICATE OF SERVICE

       I hereby certify that on September 16, 2022, I electronically filed the MOTION TO

COMPEL with the Clerk of the Court using the CM/ECF system which will send notification of

such filing to the following counsel of record who have appeared in this action:


Steven E. Katzman
Daniel C. Katzman
Katzman & Sugden, LLC
300 South Charles Street
Belleville, IL 62220


                                                       s/ Laura J. Jones
                                                       LAURA J. JONES
                                                       Assistant United States Attorney



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